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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE
 HOMEVESTORS OF AMERICA, INC.,                  )
                                                )
                Plaintiff,                      )
                                                )
        v.                                      )     C.A. No. 22-1583-RGA
                                                )
 WARNER BROS. DISCOVERY, INC.                   )
                                                )
                Defendant.                      )
                                    NOTICE OF SERVICE
       PLEASE TAKE NOTICE that on September 6, 2024, true and correct copies of Plaintiff’s

Objections to Warner Bros. Discovery, Inc.’s Notice of Rule 30(b)(6) Deposition were caused to

be served on the following counsel of record as indicated:

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Dated: September 6, 2024
